Case 4:15-cv-02211 Document8 _ Filed on 12/28/15 in TXSD Pagelof3

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

THE CHURCH INSURANCE COMPANY §
OF VERMONT, §
§
Plaintiff, §
§

Vv. § No. 4:15-cv-2211
§

CHURCH OF THE HOLY APOSTLES, § JURY DEMAND
KATY, TEXAS, §
§
Defendant. §

STIPULATION OF DISMISSAL WITH PREJUDICE

Plaintiff The Church Insurance Company of Vermont (“CICV”) and Defendant Church
of the Holy Apostles, Katy, Texas (the “Church”) file this Stipulation of Dismissal under Federal
Rule of Civil Procedure 41(a)(1)(A)(ii).

1. CICV and the Church move to dismiss all claims and counter-claims that were, or
could have been, asserted against each other in this action with prejudice.

2. This case is not a class action, and a receiver has not been appointed.

Dee This action is not governed by any statute of the United States that requires an

order of the Court for dismissal.

4, This dismissal is with prejudice.
5. Each party agrees to bear its own attorneys’ fees and costs.
6. This stipulation is intended to be effective upon filing as contemplated by Federal

Rule of Civil Procedure 41(a)(1)(A)(ii). A proposed order nevertheless accompanies this

stipulation if the Court should elect to enter an order for administrative or other purposes.

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Case 4:15-cv-02211 Document8 _ Filed on 12/28/15 inTXSD Page2of3

Respectfully submitted:

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Case 4:15-cv-02211 Document8 _ Filed on 12/28/15 in TXSD Page 3of3

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ATTORNEYS FOR DEFENDANT, CHURCH
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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing instrument has been served
via the Court’s electronic filing system and facsimile on this 28" day of December, 2015 as
shown below:

Chad T. Wilson

Kimberly N. Blum

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/s/ Joseph A. Ziemianski
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